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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )           4:04CR3099
                                           )
             Plaintiff,                    )
                                           )           MEMORANDUM
vs.                                        )           AND ORDER
                                           )
ROBERT VYHNALEK,                           )
ROSE VYHNALEK, and                         )
RICHARD CRAWFORD,                          )
                                           )
             Defendants.                   )

       Because it appears that Robert V. Vyhnalek, Rose Vyhnalek, and Richard
Crawford are represented by the same attorney, and a conflict of interest could exist
as a result,

      IT IS ORDERED that:

      1.     The court advises each of the defendants that they have a right to
             independent counsel. If such a defendant cannot afford counsel,
             independent counsel will be appointed at no cost to the defendant.

      2.     At the time of sentencing, and before I decide whether to accept the plea
             agreements, I will conduct a hearing pursuant to Federal Rule of
             Criminal Procedure 44 to determine whether the defendants should be
             permitted to proceed with the same lawyer.

      3.     Prior to the time of sentencing, defense counsel shall meet in person and
             separately with each defendant. At that meeting, defense counsel shall
             advise each client of the provisions of this order, the defendant’s right to
             independent counsel and the appointment of counsel by the court at no

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          cost to the defendant, and the risks of joint representation. At the time
          of sentencing, and for each defendant, counsel shall affirmatively state
          on the record that he has complied with this directive.

    November 4, 2005.                      BY THE COURT:

                                           s/ Richard G. Kopf
                                           United States District Judge




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